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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

STATE OF OHIO, et al.,

       Plaintiffs,                                         Case No. 3:24-cv-283

vs.

UNITED STATES DEPARTMENT                                   District Judge Michael J. Newman
OF HOMELAND SECURITY, et al.,                              Magistrate Judge Peter B. Silvain, Jr.

      Defendants.
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 ORDER TO SHOW CAUSE WHY THE COURT SHOULD NOT DISMISS THE CASE
                       AS MOOT BY DECEMBER 11, 2024
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       This civil case is before the Court on Plaintiffs’ request for a preliminary injunction

regarding the November 2024 election. In a recent Sixth Circuit en banc opinion, the Court

dismissed a 2024 election appeal as moot. Brown v. Yost, No. 24-3354, 2024 WL 4847401, at *4

(6th Cir. Nov. 21, 2024). Accordingly, this Court ORDERS PLAINTIFFS TO SHOW CAUSE

explaining why the Court should not dismiss this case as moot. Plaintiffs must file a response to

the Show Cause Order by December 11, 2024.

       IT IS SO ORDERED.

       November 25, 2024                            s/Michael J. Newman
                                                    Hon. Michael J. Newman
                                                    United States District Judge
